          Case 1:19-cr-00449-LO Document 384 Filed 10/29/21 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,      *
                                *    CRIMINAL NO. LO-19-0449
      v.                        *
                                *
 KENNETH WENDELL RAVENELL,      *
 JOSHUA REINHARDT TREEM, and    *
 SEAN FRANCIS GORDON,           *
                                *
      Defendants.               *
                             *******

                                     MOTION TO SEAL

       The United States of America, by and through its undersigned attorneys, hereby submits

this motion to seal its opposition to Defendant Kenneth Ravenell’s motion for a stay of the

Court’s sealed October 27, 2021 Order (ECF No. 378). The reasons for sealing are that the

defendant’s motion and the government’s opposition discuss a sealed order of this Court.

       WHEREFORE the Government requests that the Court enter an Order sealing its

opposition to Defendant Kenneth Ravenell’s motion for a stay of the Court’s sealed October 27,

2021 Order (ECF No. 378).

                                     Respectfully submitted,

                                     Philip Selden
                                     Attorney for the United States
                                     Acting Under Authority Conferred by 28 U.S.C. § 515

                                     By: ____________/s/____________
                                            Leo J. Wise
                                            Matthew J. Maddox
                                            Assistant United States Attorneys

                                             Derek E. Hines
                                             Special Assistant United States Attorney
  Case 1:19-cr-00449-LO Document 384 Filed 10/29/21 Page 2 of 2



                        CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing was served on counsel of record via CM/ECF.

                                             ____________/s/____________
                                             Leo J. Wise
                                             Assistant United States Attorney
